               Case 1:24-cv-00312-SE-TSM                   Document 24       Filed 10/30/24        Page 1 of 2
USDCNH-96 (Rev. 7/14) Appearance of Counsel


                                    UNITED STATES DISTRICT COURT
                                                              for the
                                                   District of New Hampshire


           Coalition for Open Democracy et al.                   )
                            Plaintiff                            )
                               v.                                )      Case No.   1:24-cv-00312
      David M. Scanlan, in his official capacity, et al.         )
                           Defendant                             )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Coalition for Open Democracy, League of Women Voters of NH, Forward Foundation, et al.                       .


Date:         10/30/2024                                                                 /s/ Jacob van Leer
                                                                                         Attorney’s signature


                                                                               Jacob van Leer, DC Bar No. 1742196
                                                                                     Printed name and bar number

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          Case 1:24-cv-00312-SE-TSM                Document 24          Filed 10/30/24        Page 2 of 2

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                                            CERTIFICATE OF SERVICE

I hereby certify that this Appearance was filed in the court's electronic filing system and served on the following
persons on this date and in the manner specified herein:

Electronically Served Through ECF:
 All counsel of record




 Conventionally Served:




          10/30/2024                                                           /s/ Jacob van Leer
Date                                                        Signature
